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11
                            NORTHERN DISTRICT OF CALIFORNIA
12
                                        SAN JOSE DIVISION
13
14
     FEDERAL TRADE COMMISSION,                      Case No. 5:17-cv-00220-LHK-NMC
15                  Plaintiff
                                                    FEDERAL TRADE COMMISSION’S
16                                                  MOTION FOR PARTIAL SUMMARY
17                 v.                               JUDGMENT ON QUALCOMM’S
                                                    STANDARD ESSENTIAL PATENT
18                                                  LICENSING COMMITMENTS AND
     QUALCOMM INCORPORATED, a Delaware              MEMORANDUM OF POINTS AND
19                                                  AUTHORITIES IN SUPPORT
     Corporation,
20                 Defendant.
21                                                  REDACTED VERSION OF
                                                    DOCUMENT SOUGHT TO BE SEALED
22
                                                    Date:        October 18, 2018
23
                                                    Time:        1:30 p.m.
24                                                  Courtroom:   8, 4th Floor
                                                    Judge:       Hon. Lucy H. Koh
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28

                                                 FTC’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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2                                NOTICE OF MOTION AND MOTION
3           To the Honorable Court, all parties, and their attorneys of record:
4           Please take notice that on October 18, 2018, at 1:30 p.m., in Courtroom 8, United States
5    Courthouse, 280 South 1st Street, San Jose, California 95113, Plaintiff Federal Trade
6    Commission will and hereby does move the Court for partial summary judgment that Defendant
7    Qualcomm Incorporated’s commitments to the Alliance for Telecommunications Industry
8    Solutions (“ATIS”) and the Telecommunications Industry Association (“TIA”) to make licenses
9    to relevant standard-essential patents (“SEPs”) available to “applicants” on fair, reasonable, and
10   non-discriminatory (“FRAND”) terms require and have required Qualcomm to make such
11   licenses available to rival sellers of modem chips.
12          This motion is made pursuant to Federal Rule of Civil Procedure 56, and is based on the
13   ground that, as a matter of law, Qualcomm’s contractual commitments to ATIS and TIA to make
14   licenses to relevant SEPs available to “applicants” on FRAND terms require Qualcomm to make
15   such licenses available to rival modem-chip sellers.
16          This motion is based on this Notice of Motion and the Memorandum of Points and
17   Authorities in Support filed concurrently, the pleadings and documents on file in this case, and
18   other such argument as may be presented by counsel at the hearing on this motion.
19
20                                      ISSUE TO BE DECIDED
21          Whether the Court should grant partial summary judgment that Qualcomm’s
22   commitments to make licenses to covered SEPs available (1) “to applicants desiring to utilize the
23   license for the purpose of implementing the [relevant ATIS] standard . . . under reasonable terms
24   and conditions that are demonstrably free of any unfair discrimination” and (2) “to all applicants
25   under terms and conditions that are reasonable and non-discriminatory . . . to the extent
26   necessary for the practice of [the relevant TIA standard]” require Qualcomm to make such
27   licenses available to competing modem-chip sellers whose chips implement those standards.
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                                                                            FTC’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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1          I.          INTRODUCTION
2               Qualcomm has committed to telecommunications industry standard setting organizations
3    (“SSOs”) that Qualcomm will grant licenses to the company’s standard-essential patents
4    (“SEPs”) on fair, reasonable and non-discriminatory (“FRAND”) terms to applicants that wish to
5    implement cellular standards. In breach of these contractual commitments, Qualcomm has
6    rejected requests from modem-chip competitors to license patents essential to practicing these
7    standards. Together with other challenged practices, including a “no license-no chips” policy to
8    which Qualcomm subjects its chip customers, Qualcomm’s refusal to license chip competitors
9    has significantly contributed to Qualcomm’s unlawful maintenance of monopoly power in
10   markets for CDMA and premium LTE modem chips.
11              Through this motion, the FTC does not seek summary judgment on the competitive
12   effects of Qualcomm’s refusal to license its competitors. These effects must be evaluated, at
13   trial, together with the effects of Qualcomm’s other related conduct.1 Order Denying Motion to
14   Dismiss (Dkt. 134), at 31. Nor does the FTC seek through this motion to establish that
15   Qualcomm has an antitrust duty to deal with its competitors. Order Denying Motion to Dismiss
16   (Dkt. 134), at 41-44 (antitrust duty to deal exists where a defendant alters a voluntary course of
17   dealing with evidence of anticompetitive malice). This, too, will be a subject addressed at trial.
18              Rather, the FTC seeks partial summary judgment on a narrow legal issue relevant to
19   evaluation of Qualcomm’s conduct under the antitrust laws: a ruling that Qualcomm’s voluntary
20   FRAND licensing commitments to two United States-based SSOs, under the plain meaning of
21   these SSOs’ intellectual property rights (“IPR”) policies, require Qualcomm to make licenses
22   available to competing modem-chip sellers. The two SSOs are the Telecommunications Industry
23   Association (“TIA”), the U.S. SSO that adopted the CDMA family of standards, and the Alliance
24
25   1
       Evidence at trial will show that Qualcomm’s refusal to license FRAND-encumbered SEPs to
26   competitors discourages investment and works in conjunction with its no license-no chips policy
     to tax competitors’ chip sales. Unlike handset makers, Qualcomm’s chip competitors do not
27   depend on Qualcomm’s modem chips, and thus could negotiate licenses with reference to
28   Qualcomm’s likely infringement remedies instead of a threatened supply disruption.


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1    for Telecommunications Industry Solutions (“ATIS”), the U.S. SSO that adopted the UMTS and
2    LTE families of standards. Because Qualcomm’s FRAND commitments formed contracts with
3    these SSOs, the Court may appropriately interpret the scope of the duty as a matter of contract
4    law on summary judgment.
5           The relevant contract language is clear. TIA’s IPR policy requires participants to make
6    licenses to relevant SEPs available “to all applicants under terms and conditions that are
7    reasonable and non-discriminatory . . . to the extent necessary for the practice of [the relevant
8    TIA standard].” 2 ATIS’s IPR policy requires participants to make licenses to relevant SEPs
9    available “to applicants desiring to utilize the license for the purpose of implementing the
10   [relevant ATIS] standard . . . under reasonable terms and conditions that are demonstrably free of
11   any unfair discrimination.”3 Neither IPR policy permits participants to refuse licenses to certain
12   applicants or categories of applicants. To the contrary, official guidelines to the TIA IPR policy
13   state: “An example of conduct that would constitute discrimination is a willingness to license all
14   applicants except for competitors of the licensor.”4 As a matter of California contract law,
15   Qualcomm’s FRAND commitments under the terms of these policies mean that it must make
16   licenses to relevant cellular SEPs available to competitors.5
17          The FTC’s Complaint alleges that Qualcomm’s commitments to TIA, ATIS, and other
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     2
20     Ex. 1 (TIA Intellectual Property Rights Policy, at 8-9, Oct. 21, 2016). All exhibits are attached
     to the Declaration for Jennifer Milici in Support of the FTC’s Motion for Partial Summary
21   Judgment unless noted otherwise.
     3
       Ex. 2 (Q2017MDL1_00024028, ATIS Operating Procedures § 10.1, at 10, Mar. 1, 2015), also
22   available at https://www.atis.org/01_legal/docs/OP.pdf.
     4
23     Ex. 3 (Q2017MDL1_00025790, Guidelines to the Telecommunications Industry Association
     Intellectual Property Rights Policy, at 4, May 1, 2014), also available at
24   https://www.tiaonline.org/wp-content/uploads/2018/05/Guidelines_to_the_Intellectual_Rights_
     Policy_of_the_Telecommunications_Industry_Association.pdf.
25   5
       The FTC’s motion concerns Qualcomm’s licensing obligations under the TIA and ATIS IPR
26   policies. However, the FTC does not waive any arguments that Qualcomm’s numerous FRAND
     licensing commitments to other SSOs, including the European Telecommunication Standards
27   Institute (“ETSI”), also require Qualcomm to license competing modem-chip sellers under the
28   plain and unambiguous terms of the relevant IPR policies.


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                                                        FTC’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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1    SSOs require it to license its SEPs to rival modem-chip sellers. Federal Trade Commission’s
2    Complaint for Equitable Relief, ECF No. 1 (“Compl.”) ¶ 108. As the FTC also alleged, and as
3    evidence at trial will show, Qualcomm’s breach of those commitments contributed to its ability
4    to tax its competitors’ sales and maintain its monopoly in markets for modem chips. Compl.
5    ¶ 115. Granting partial summary judgment on the meaning of Qualcomm’s FRAND
6    commitments to TIA and ATIS should streamline trial by obviating the need for evidence
7    regarding the meaning of Qualcomm’s commitments to a third SSO, the European
8    Telecommunication Standards Institute (“ETSI”). Qualcomm has submitted two expert reports
9    addressing whether the ETSI IPR Policy requires it to license competitors under French law.6
10   However, to the extent that Qualcomm’s commitments to TIA and ATIS require Qualcomm to
11   license relevant cellular SEPs to modem-chip sellers, the ETSI IPR Policy is immaterial—it
12   makes no difference under the FTC’s antitrust claim whether there are additional, duplicative
13   obligations flowing from Qualcomm’s ETSI commitments.
14             Because the interpretation of Qualcomm’s contractual FRAND commitments to TIA and
15   ATIS involves no genuine dispute as to any material fact, the Court should grant summary
16   judgment that Qualcomm’s contractual commitments to make licenses available to “applicants”
17   on non-discriminatory terms require Qualcomm to make such licenses available to competing
18   modem-chip sellers.
19       II.          BACKGROUND FACTS
20             A.     Overview of Standards and SSOs in 2G, 3G, and 4G

21             Cellular telecommunications rely on standards that allow equipment made by many
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                                                      FTC’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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1    different companies to interoperate. Four families of cellular standards are relevant to this case:
2    second-generation CDMA (known as “cdmaOne”), third-generation CDMA (known as
3    “CDMA2000”), third-generation Universal Mobile Telecommunications System (“UMTS”), and
4    fourth-generation Long-Term Evolution (“LTE”).
5           SSOs have adopted these standards, which incorporate technology contributed by their
6    members. TIA adopted the 2G cdmaOne family of standards.7 TIA is also the North American
7    organizational partner of 3GPP2, the collaboration that developed the 3G CDMA2000 family of
8    standards as an evolution of cdmaOne.8 ATIS is the North American organizational partner of
9    3GPP, the collaboration that developed the 3G UMTS and 4G LTE families of standards.9
10          The SSO members that contribute technologies to cellular standards include firms that
11   sell standard-compliant products such as modem chips, phones, infrastructure, or cellular
12   network services. Though firms may retain patents on contributed technologies, SSOs will not
13   incorporate patented technologies into a cellular standard without assurances that the patents will
14   be available for license on FRAND terms.10 SSOs—including TIA and ATIS—typically set out
15   their rules regarding patent licensing assurances in an IPR Policy, which describes the purpose
16   and scope of the FRAND requirement. See infra Sections III.A, III.B. Qualcomm has made a
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23      See, e.g., Ex. 5 (3GPP Working Procedures, art. 55, at 26) (“Individual Members should
     declare at the earliest opportunity, any IPRs which they believe to be essential, or potentially
24   essential, to any work ongoing within 3GPP. . . . Organizational Partners should encourage their
25   respective members to grant licences on fair, reasonable terms and conditions and on a non-
     discriminatory basis.”). Some SSOs refer to “fair, reasonable, and non-discriminatory”
26   (“FRAND”) terms, while others, including TIA and ATIS, refer to “reasonable and non-
     discriminatory” (“RAND”) terms. This Memorandum refers to “FRAND” terms, consistent with
27   courts’ conclusion that “FRAND and RAND have the same meaning in the world of SEP
28   licensing.” Microsoft Corp. v. Motorola, Inc., 795 F.3d 1024, 1031 n.2 (9th Cir. 2015).


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1    large number of licensing commitments to TIA, ATIS, and other SSOs relating to 2G (CDMA),
2    3G (UMTS and CDMA2000), and 4G (LTE) cellular standards.11
3              B.       Modem Chips Practice Qualcomm’s Cellular SEPs
4              Modem chips, sometimes referred to as baseband chips, are cellular-handset components
5    that implement cellular standards and allow handsets to communicate with a cellular network.12
6    Modem chips implementing CDMA, UMTS, and LTE standards practice claims of cellular SEPs
7    owned by Qualcomm,
8
9
10             C.       Qualcomm Does Not License Rivals That Request a License
11
               As set forth below (Section III, infra), Qualcomm has voluntarily committed to TIA and
12
     ATIS that it will license SEPs essential to cellular standards to applicants that want to implement
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          See Ex. 6
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16   12
          See, e.g., Ex. 7
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18   13
          Ex. 8
19                                     Ex. 9
                     see also, e.g., Ex. 10
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21                                                ); Ex. 11
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23                                       Ex. 12
24                                                                    Ex. 13
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                                                                               This is consistent with
26   holdings in other cases. See, e.g., GPNE Corp. v. Apple, Inc., No. 12-CV-02885-LHK, 2014 WL
     1494247, at *13 (N.D. Cal. Apr. 16, 2014) (“[T]he Court holds as a matter of law that in this
27   case, the baseband processor is the proper smallest salable patent-practicing unit” [relating to
28   certain cellular SEPs]).


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1    the standards. To resolve this motion, the Court need not determine whether Qualcomm has
2    breached its licensing commitments by refusing to license competitors.
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                                                     FTC’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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1         III.        UNDISPUTED MATERIAL FACTS SUPPORTING PARTIAL SUMMARY
                      JUDGMENT
2
3            A.       Qualcomm Voluntarily Committed under the ATIS IPR Policy to Make
                      Available Licenses to Patents Essential to UMTS and LTE Standards
4
5            3GPP, which developed UMTS and LTE standards, is a collaboration among SSOs
6    headquartered throughout the world.18 These SSO are known as 3GPP’s “Organizational
7    Partners.”19 3GPP’s Organizational Partner from the United States is the Alliance for
8    Telecommunications Industry Solutions (“ATIS”),20 which is accredited by the American
9    National Standards Institute (“ANSI”).21 Once 3GPP adopts a standard, ATIS will “transpose”
10   the 3GPP standard specifications into its own ATIS standard, or “deliverable.”22
11           Companies that are members of ATIS, such as Qualcomm, may participate in 3GPP
12   activities, subject to the ATIS IPR Policy.23 The ATIS IPR Policy states that “it is the intention
13   of ATIS and its Forums to benefit the public while respecting the legitimate rights of intellectual
14   property owners.”24 With respect to patents, the policy provides that ATIS standards may refer
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19      Ex. 5 (3GPP Working Procedures art. 1, at 7, Oct. 20, 2016).
     19
20      Id. (3GPP Working Procedures art. 6, at 8–9).
     20
        Ex. 4
21                    ETSI is 3GPP’s European Organizational Partner. Id.; Ex. 5 (3GPP Working
     Procedures art. 1, at 7, Oct. 20, 2016).
22   21
        Ex. 20 (ATIS, ATIS Telecom Glossary, Foreword, http://www.atis.org/glossary/
23   foreword.aspx).
     22
        Ex. 21 (3GPP website, http://www.3gpp.org/about-3gpp/partners) (“3GPP produces Technical
24
     Specifications, to be transposed by relevant Standardization Bodies (Organizational Partners)
25   into appropriate deliverables (e.g., standards).”).
     23
26     Ex. 5 (3GPP Working Procedures art. 55, at 26) (“Individual Members shall be bound by the
     IPR Policy of their respective Organizational Partner”).
27   24
       Ex. 2 (Q2017MDL1_00024028, Operating Procedures for ATIS Forums and Committees
28   § 10.1, at 8, Mar. 1, 2015).


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                                                       FTC’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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1    to or require the use of patented technologies.25 If “use of a patented invention is required for
2    purposes of adopting, complying with, or otherwise utilizing the standard,” however, “the
3    provisions of the ANSI Patent Policy, as adopted by ATIS . . . shall apply.”26 Those provisions
4    require that,
5
                               Prior to approval of [an ATIS standard requiring use of a
6                      patented invention], ATIS shall receive . . . assurance that a
                       license to such essential patent claim(s) will be made available to
7                      applicants desiring to utilize the license for the purpose of
                       implementing the standard . . . under reasonable terms and
8
                       conditions that are demonstrably free of any unfair
9                      discrimination.27
10              Qualcomm is a member of ATIS and has made numerous commitments under the ATIS
11   IPR Policy.
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          Id. (§ 10.4.1, at 9). The policy also encourages disclosure of relevant patent rights. Id.
18   26
          Id.
19   27
       Id. (§ 10.4.2, at 10). Other acceptable assurances, such as that the submitter owns no relevant
     patent rights or intends to license relevant patent rights for free, are not relevant here.
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                                    see also Ex. 20 (ATIS, ATIS Telecom Glossary, Foreword
18   http://www.atis.org/glossary/foreword.aspx (T1 a predecessor organization sunset in 2004)).

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              B.      Qualcomm Voluntarily Committed under the TIA IPR Policy to Make
13                    Available Licenses to Patents Essential to CDMA Standards
14            TIA, an ANSI-accredited standards developing organization, adopted the cdmaOne
15   family of standards.33 TIA is also the U.S. “Organizational Partner” of 3GPP2, a partnership
16   among SSOs that developed the CDMA2000 standard.34 Once 3GPP2 develops a standard, TIA
17   will “transpose” 3GPP2’s technical standard into its own standard or “deliverable.”35
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24   33
       Ex. 30 (Q2017MDL1_00025969, Guidelines to the Intellectual Property Rights Policy of the
     Telecommunications Industry Association, at 1, March 2005); Ex. 4
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26        See Ex. 4
                          Ex. 31 (3GPP2 Partnership Project Description, at 3, 13, 2002).
27   35
        See Ex. 31 (3GPP2 Partnership Project Description, at 6, 2002) (3GPP2 will develop a 3G
28   standard “to be transposed by standardization bodies (Organizational Partners) into appropriate


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1              Companies that are members of TIA, such as Qualcomm, may participate in 3GPP2
2    activities, subject to the TIA IPR Policy.36
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17   deliverables (e.g., standards).”).
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18        See id. (3GPP2 Partnership Project Description, at 54).

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19            The 2005 guidelines similarly explain that IPR may be included in TIA standards only
20   where it is “available on a reasonable and non-discriminatory basis for all that would use it to
21   fashion products contemplated by the standard in question.”46 The guidelines further explain
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28        Ex. 30 (Q2017MDL1_00025969, Guidelines to the Intellectual Property Rights Policy of the


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1    that:
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                               Requiring reasonable and non-discriminatory (RAND)
3                      licenses to all applicants prevents the inclusion of patented
                       technology from resulting in a patent holder securing a monopoly
4                      in any market as a result of the standardization process. Thus,
                       licensing offers which defeat this intention are likely to fail the
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                       RAND test and do not comply with the Policy.
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8                      An example of conduct that would constitute discrimination is a
                       willingness to license all applicants except for competitors of the
9                      licensor.47
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18        IV.          LEGAL STANDARD
19              Summary judgment is appropriate where “there is no genuine dispute as to any material
20   fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see
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     Telecommunications Industry Association, at 1, March 2005) (emphasis added).
23   47
       Id. (Guidelines to the Intellectual Property Rights Policy of the Telecommunications Industry
24   Association, at 5) (emphasis added).
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1    Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Galen v. Cnty. of L.A., 477 F.3d 652, 658
2    (9th Cir. 2007). Material facts are those “that might affect the outcome of the suit under the
3    governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Rule 56 allows a
4    court to grant summary judgment on a part of a claim or defense. See Fed. R. Civ. P. 56(a) (“A
5    party may move for summary judgment, identifying each claim or defense—or the part of each
6    claim or defense—on which summary judgment is sought.”); Lies v. Farrell Lines, Inc., 641 F.2d
7    765, 769 n.3 (9th Cir. 1981) (“Rule 56 authorizes a summary adjudication that will often fall
8    short of a final determination, even of a single claim”) (internal quotation marks omitted); see
9    also Hariri v. Reliance Standard Life Ins. Co., No. 15-CV-03054, 2017 WL 3422029, at *1
10   (N.D. Cal. Aug. 9, 2017) (granting motion for partial summary judgment on a single issue);
11   Super98, LLC, v. Delta Air Lines, Inc., 309 F. Supp. 3d 1368, 1376 n.5 (N.D. Ga. 2018)
12   (granting in part motion for partial summary judgment on issues of contract interpretation and
13   noting that “[w]hile some courts used to prohibit motions for summary judgment on single issues
14   of elements that did not dispose of a claim, the 2010 Amendment to Rule 56 of the Federal Rules
15   of Civil Procedure expressly recognizes partial summary judgment.”). “The standards for partial
16   summary judgment are identical to the standards for summary judgment.” St. Paul Mercury Ins.
17   Co. v. Am. Safety Indem. Co., No. 12-CV-05952, 2014 WL 2120347, at *6 (N.D. Cal. May 21,
18   2014) (Koh, J.) (citing Epiphany, Inc. v. St. Paul Fire & Marine Ins. Co., 590 F. Supp. 2d 1244,
19   1250 (N.D. Cal. 2008)).
20          Under California law,49 the interpretation of an unambiguous contract is a question of
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       It is appropriate for the Court to analyze this question under California law. Neither ATIS nor
23   TIA specifies what law governs their IPR Policies, and both organizations issue standards
24   applicable throughout North America. In the analogous situation of a federal question action in
     which the federal court is “exercising supplemental jurisdiction over state claims, the federal
25   court applies the choice-of-law rules of the forum state—in this case, California.” Paracor Fin.
     Inc. v. Gen. Elec. Capital Corp., 96 F.3d 1151, 1164 (9th Cir. 1996). California choice of law
26   rules provide that, absent an express agreement by the parties, “[a] contract is to be interpreted
27   according to the law and usage of the place where it is to be performed; or, if it does not indicate
     a place of performance, according to the law and usage of the place where it is made.” Cal. Civ.
28   Code § 1646; Welles v. Turner Entm’t Co., 503 F.3d 728, 738 (9th Cir. 2007). “When the


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1    law. Brobeck, Phleger & Harrison v. Telex Corp., 602 F.2d 866, 871-72 (9th Cir. 1979).
2    Summary judgment is therefore appropriate where there is no “genuine issue of material fact as
3    to [a] contract’s proper interpretation . . . .” Nat’l Union Fire Ins. Co. of Pittsburgh, PA v.
4    Argonaut Ins. Co., 701 F.2d 95, 97 (9th Cir. 1983). Whether commitments to SSOs to license
5    patents on FRAND terms constitute binding contractual commitments is also a matter for
6    summary judgment. Microsoft Corp. v. Motorola, Inc., 854 F. Supp. 2d 993, 999 (W.D. Wash.
7    2012).
8             Contracts are to be interpreted, if possible, “solely from the written provisions of the
9    contracts,” AIU Ins. Co. v. Superior Court, 51 Cal. 3d 807, 822 (1990), and where contractual
10   language “is clear and explicit, it governs,” Bank of the West v. Superior Court, 2 Cal. 4th 1254,
11   1264 (1992). “Parol evidence is admissible to prove a meaning to which the language of the
12   instrument is reasonably susceptible.” St. Paul Mercury Ins., 2014 WL 2120347, at *12 (citing
13   Pac. Gas & Elec. Co. v. G.W. Thomas Drayage & Riggigin Co., 69 Cal. 2d 33, 37 (1968)).
14   “However, extrinsic evidence cannot be used to directly contradict an express term of a written
15   contract.” Id. (citing Gerdlund v. Elec. Dispensers Int’l, 190 Cal. App. 3d 263, 271 (1987)).
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     contract does not specify a place of performance . . . the place of performance is the jurisdiction
20   in which the circumstances indicate the parties expected or intended the contract to be
     performed.” Welles, 503 F.3d at 738. As discussed below, the relevant contracts were formed
21   by Qualcomm’s commitments to the SSOs. Because Qualcomm is headquartered in California,
22   California is both the place of performance of the contracts as well as the place where the
     contracts were formed. See Cal. Civ. Code § 1583 (“Consent is deemed to be fully
23   communicated between the parties as soon as the party accepting a proposal has put his
     acceptance in the course of transmission to the proposer . . . .”); Palo Alto Town & Country
24   Village, Inc. v. BBTC Co., 11 Cal. 3d 494, 500-01 (1974) (describing the “effective upon posting
25   rule”). Federal courts that have interpreted similar contracts with SSOs, in the absence of a
     choice of law provision in the SSO’s policy, have likewise applied the contract law of the forum
26   state. See Microsoft Corp. v. Motorola, Inc., 864 F. Supp. 2d 1023, 1033 (W.D. Wash. 2012)
     (applying Washington law to analyze contracts with IEEE and ITU); Apple, Inc. v. Motorola
27   Mobility, Inc., 886 F. Supp. 2d 1061, 1082 (W.D. Wisc. 2012) (applying Wisconsin law to
28   analyze contract with IEEE).


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1         V.          QUALCOMM’S FRAND COMMITMENTS REQUIRE IT, AS A MATTER
                      OF CONTRACT LAW, TO MAKE LICENSES AVAILABLE TO
2                     COMPETING CHIP SELLERS
3
               A.     Qualcomm’s FRAND Commitments Are Binding Contracts
4
5              Qualcomm’s commitments to ATIS and TIA formed binding contracts in which
6    Qualcomm agreed to comply with ATIS’s and TIA’s FRAND requirements.
7              The Ninth Circuit Court of Appeals, together with other courts, has held that SSOs’ IPR
8    policies, in conjunction with patent holders’ licensing commitments, create binding contracts
9    between the patent holder and the SSO. In Microsoft Corp. v. Motorola, Inc., the Ninth Circuit
10   affirmed that “Motorola’s RAND declarations to the ITU created a contract.” 696 F.3d 872, 884
11   (9th Cir. 2012); see also Microsoft, 864 F. Supp. 2d at 1031 (“[A] contract is formed through
12   Motorola’s (or any essential patent holder’s) commitment to the IEEE or the ITU to license
13   patents on RAND terms.”); TCL Commc’n Tech. Holdings, Ltd. v. Telefonaktiebolaget LM
14   Ericsson, No. SACV 14-341, 2017 WL 6611635, at *5 (C.D. Cal. Dec. 21, 2017) (“ETSI’s
15   acceptance of a patent holder’s patent as an SEP forms a contract which includes the patent
16   holder’s obligation to license.”); Realtek Semiconductor Corp. v. LSI Corp., 946 F. Supp. 2d 998,
17   1006 (N.D. Cal. 2013) (“Similar to the situation in Motorola, here, defendants’ are contractually
18   obligated under their Letters of Assurance to the IEEE to license . . . on RAND terms . . . .”).
19   Courts in other circuits have reached similar conclusions. See, e.g., In re Innovatio IP Ventures,
20   LLC Patent Litig., 956 F. Supp. 2d 925, 933 (N.D. Ill. 2013) (“The parties do not dispute that the
21   letters of Innovatio’s predecessors in interest to the IEEE constitute binding contractual
22   commitments to the IEEE and its members.”); Apple, 886 F.Supp.2d at 1083-84 (“[T]he
23   combination of the policies and bylaws of the standards-setting organizations, Motorola’s
24   membership in those organization and Motorola’s assurances that it would license its essential
25   patents on fair, reasonable and nondiscriminatory terms constitute contractual agreements.”).
26   Qualcomm’s commitments to ATIS and TIA thus formed binding contracts to comply with these
27   SSOs’ SEP licensing requirements.
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1              The terms of the contract include the SSOs’ IPR policies and guidelines and the terms of
2    Qualcomm’s commitments to the SSOs. See TCL Commc’n, 2017 WL 6611635, at *6
3    (interpreting Ericsson’s contract with ETSI with reference to the ETSI IPR Policy and the ETSI
4    Guide on IPRs); Microsoft, 864 F. Supp. 2d at 1032 n.6 (“The parties agree that the operative
5    contract language includes the language of Motorola’s statements to the IEEE and the ITU, as
6    well as the relevant language in the IEEE and ITU Policies.”); Innovatio IP Ventures, 956 F.
7    Supp. 2d at 933 (“[T]he parties agreed that the terms of the RAND commitment by which
8    Innovatio is bound are established by the current IEEE Standards Board Bylaws promulgated in
9    2007.”); Apple, 886 F. Supp. 2d at 1083-85 (determining scope of Motorola’s contractual
10   obligations to ETSI with reference to ETSI IPR policy). These contract terms are discussed
11   below.
12
               B.      The Plain Language of the TIA IPR Policy Requires Qualcomm to Make
13                     Licenses Available to Competing Sellers of Modem Chips

14             The language of the TIA IPR Policy and accompanying guidelines, along with
15   Qualcomm’s licensing commitments under the terms of the IPR Policy, is clear: Qualcomm must
16   make licenses to relevant SEPs available to rival modem-chip sellers. Because the relevant
17   contract terms are clear, the Court need not consider parol evidence to decide the issue. AIU Ins.
18   Co., 51 Cal. 3d at 822.
19             Qualcomm has variously promised to make licenses available to “applicants” and “all
20   applicants” that wish to “practice” TIA standards, without unfair “discrimination.”50 No
21   language in the TIA IPR Policy suggests the term “applicants” is limited to applicants selling a
22   particular type of product or occupying a particular level of the supply chain. The Ninth Circuit
23   Court of Appeals addressed similar language in another SSO’s IPR Policy, which required a
24   promise to grant licenses to “an unrestricted number of applicants.” Microsoft, 696 F.3d at
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28        See supra § III.


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1    884.51 The court explained that “[t]his language admits of no limitations as to who or how many
2    applicants could receive a license.” Id. The same is true here, where Qualcomm promised to
3    make licenses to relevant SEPs available to “applicants” and “all applicants.” Neither
4    formulation admits any limitation on who is eligible to receive a license, if requested.
5              The language that restricts licenses to those that “practice” the standards also provides no
6    basis to exclude modem-chip sellers.
7                                                         52
                                                               And modem chips are the principal component
8    used by a handset to implement cellular standards.
9              Moreover, the 2005 TIA guidelines explain that technology subject to intellectual
10   property rights may be included in TIA standards only where these rights are “available on a
11   reasonable and non-discriminatory basis for all that would use it to fashion products
12   contemplated by the standard in question.”53 Modem chips are clearly a product contemplated
13   by the standards at issue here, as they are necessary to implement the standards.
14             Finally, the commitment to license without “unfair discrimination” unambiguously
15   prohibits Qualcomm from selectively choosing not to license its competitors that, like
16   Qualcomm, practice cellular standards via the design and sale of modem chips. It is clearly
17   discriminatory for Qualcomm to refuse licenses only to its competitors. Indeed, TIA’s published
18   guidelines expressly identify the refusal to license competitors as “[a]n example of conduct that
19   would constitute discrimination.”54
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23      The licensing commitment at issue in Microsoft stated: “The Patent Holder will grant a license
     to an unrestricted number of applicants on a worldwide, non-discriminatory basis and on
24   reasonable terms and conditions to use the patented material necessary in order to manufacture,
     use, and/or sell implementations . . . .” Microsoft, 696 F.3d at 876.
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          See supra § II.B.
26   53
       Ex. 30 (Q2017MDL1_00025969, Guidelines to the Intellectual Property Rights Policy of the
27   Telecommunications Industry Association, at 1, March 2005) (emphasis added).
     54
28        Id. (Guidelines to the TIA IPR Policy, at 5).


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1              C.     The Plain Language of the ATIS IPR Policy Requires Qualcomm to Make
                      Licenses Available to Competing Sellers of Modem Chips
2
3              Like the TIA IPR Policy, the ATIS IPR Policy and Qualcomm’s accompanying licensing
4    commitments are clear and may be interpreted without reference to parol evidence. The IPR
5    Policy and Qualcomm’s commitments to ATIS to license applicable SEPs in accordance with the
6    terms of the Policy plainly require Qualcomm to make licenses to SEPs available to competing
7    modem-chip sellers. As with TIA, Qualcomm’s commitments apply to “applicants” whose
8    products “implement the standard.”55 Just as with Qualcomm’s sweeping commitments under
9    the TIA policy, there is no limitation on the number or identity of “applicants” eligible to receive
10   licenses.
11             The limitation to applicants that wish to “implement” ATIS standards does not exclude
12   modem-chip sellers. Qualcomm owns SEPs that are infringed by modem chips, and these chips
13   are sold for the purpose of implementing the standard.56 Moreover, the IPR Policy states that it
14   applies whenever “use of the patented invention is required for purposes of adopting, complying
15   with, or otherwise utilizing the standard, guideline, or other ATIS deliverable.”57 This broad
16   language makes clear that patent declarations under the IPR Policy are intended to facilitate any
17   form of “utilizing” the standard, which a modem chip implementing standardized cellular
18   functionality clearly does.
19             Finally, as under the TIA IPR Policy, Qualcomm has promised under the ATIS IPR
20   Policy not to discriminate in its licensing of SEPs. These commitments do not allow Qualcomm
21   to withhold licenses from competitors that implement the standard.
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          See supra § III.A.
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27        See supra § II.B.
     57
28        Ex. 2 (Q2017MDL1_0024028, ATIS Operating Procedures § 10.4.1, Mar. 1, 2015).


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1        VI.          CONCLUSION
2              Over the past two decades, Qualcomm has repeatedly promised to make licenses to its
3    cellular SEPs available to “applicants” on FRAND terms.
4                                                                                     The Court should
5    grant partial summary judgment that Qualcomm’s simple, clear promises to ATIS and TIA
6    require Qualcomm to make licenses on FRAND terms available to competing modem-chip
7    sellers whose products implement or practice the relevant standards; the Court should do so both
8    to resolve a purely legal question and to streamline the trial in this matter.
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10                                                      Respectfully submitted,
11
12                                                         /s/ Jennifer Milici
               Dated: August 30, 2018                    JENNIFER MILICI
13                                                       JOSEPH R. BAKER
14                                                       GEOFFREY M. GREEN
                                                         NATHANIEL HOPKIN
15                                                       RAJESH S. JAMES
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17                                                       KENNETH H. MERBER
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18
19                                                       Bureau of Competition

20                                                       Attorneys for Plaintiff Federal Trade
                                                         Commission
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